Case 1:20-cv-00654-RLY-MJD Document 1 Filed 02/27/20 Page 1 of 4 PageID #: 1




                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


REBECCA DOBBINS and                             )
LEN DOBBINS,                                    )
                                                )
                 Plaintiffs,                    )
                                                )
vs.                                             )       Case No. 1:20-cv-654
                                                )
STATE FARM MUTUAL AUTOMOBILE                    )
INSURANCE COMPANY, and                          )
AETNA, INC., A DIVISION OF                      )
CVS HEALTH, CORP.                               )
                                                )
                 Defendants.                    )


                                    NOTICE OF REMOVAL
       Defendant Aetna, Inc. (“Defendant”), by counsel, and pursuant to 28 U.S.C. §§ 1331,

1441, and 1446, respectfully submits this Notice of Removal for the Purpose of removing this

matter from the Hamilton County Superior Court to the United States District Court for the

Southern District of Indiana, and, in support thereof, respectfully states the following:

       1.       Defendant has been named in the case, Rebecca Dobbins and Len Dobbins v.

State Farm Mutual Automobile Insurance Company, now pending in the Hamilton County

Superior Court, Cause No: 29D01-1802-CT-001338.

       2.        Specifically, on or about January 27, 2020, Plaintiffs Rebecca Dobbins and Len

Dobbins (“Plaintiffs”) filed a Petition for Joinder of Aetna as a Defendant, and for Declaratory

Judgment Concerning Its Lien (“Petition”) against Defendant in the Hamilton County Superior

Court. Pursuant to S.D. Ind. L. R. 81-2(c), a true and accurate copy of the Petition is attached

hereto as Exhibit B.
Case 1:20-cv-00654-RLY-MJD Document 1 Filed 02/27/20 Page 2 of 4 PageID #: 2




       3.       Defendant was served by certified mail on February 3, 2020. Undersigned

counsel appeared for Defendant on February 14, 2020.

       4.       The underlying facts related to Plaintiffs petition involve an employee benefit

plan (“the Plan) whose coverage is provided through Defendant. Specifically, Defendant paid

for Plaintiffs’ medical care following an automobile accident. As such, Defendant has asserted

a $167,502.76 lien on any settlement proceeds that Plaintiffs receive from State Farm.

       5.       The Plan is an employee welfare benefit plan governed by the Employee

Retirement Income Security Act of 1974 (“ERISA”), 29 U.S.C.A.§§ 1001 et seq. See 29

U.S.C.A. § 1002(1)(A) (the employee welfare benefit plan regulated by ERISA includes

employer-sponsored program benefiting disability benefits).

       6.      This action is removable to this Court because original jurisdiction has been given

to it in civil cases arising under the laws of the United States pursuant to 28 U. S.C. 1331 and

“ERISA” provides that the Federal Courts have jurisdiction to hear civil causes of action brought

under the same pursuant to 29 U.S.C. 1132(e). See Roth Bros. v. Ohio Farmers Ins. Co., No.

1:12-CV-0158-JMS-DKL, 2012 WL 2120013, at *1 (S.D. Ind. June 11, 2012) (28 U.S.C. § 1331

will confer jurisdiction when “the complaint standing alone establishes ... that federal law creates

the cause of action).

       7.       In accordance with 28 U.S.C. §1446(b)(3), Defendant timely files this Notice of

Removal.

       8.       True and correct copies of all process, pleadings and orders served in the State

Court Action are attached hereto as Exhibit A.

       9.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 1441(a) and 1446(a) because

the United States District Court for the Southern District of Indiana, Indianapolis Division, is the
Case 1:20-cv-00654-RLY-MJD Document 1 Filed 02/27/20 Page 3 of 4 PageID #: 3




federal judicial district embracing the Hamilton County Court of Indiana, where the State Court

Action is pending.

       10.     Consistent with 28 U.S.C. 1446(a), a copy of this Notice shall be served upon

counsel for Plaintiffs. In addition, notice of this proceeding shall be contemporaneously filed with

the Hamilton County Superior Court.


                                              Respectfully submitted,

                                              /s/ William J. Brinkerhoff
                                              B.J. Brinkerhoff, Attorney No. 24811-53
                                              Jeselskis Brinkerhoff and Joseph LLC
                                              350 Massachusetts Avenue, Suite 300
                                              Indianapolis, IN 46204
                                              Phone: (317) 220-6290
                                              Fax: (317) 220-6291
                                              bjbrinkerhoff@jbjlegal.com


                                              Attorney for Defendant, Aetna, Inc.
Case 1:20-cv-00654-RLY-MJD Document 1 Filed 02/27/20 Page 4 of 4 PageID #: 4




                                CERTIFICATE OF SERVICE
       The undersigned hereby certifies that on February 27, 2020 a copy of the foregoing was

filed electronically with the Clerk of the Court via the ECF/CM system which sent notification of

such filing to the following:


       Amy Van Ostrand-Fakehany             avanostrand@roweandhamilton.com

       Bradley J. Schulz                    indi.law-schulz.229o18@statefarm.com

       John C. Trimble                      jtrimble@lewiswagner.com



                                            /s/ William J. Brinkerhoff
                                            B.J. Brinkerhoff
